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                    EXHIBIT 1



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                         IN THE UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

SECURITIES AND EXCHANGE COMMISSION,
Plaintiff,                                               Case No. 2:19-cv-2188 DSF (MRWx)
v.
DIRECT LENDING INVESTMENTS, LLC,
Defendant.



               BIDDING PROCEDURES FOR SALE OF WHOLE LOAN ASSETS


               On March 22, 2019, the Securities and Exchange Commission filed a complaint
      commencing an action against Direct Lending Investments, LLC (“DLI”) in the United States
      District Court for the Central District of California (“Court”), Case No. 2:19-cv-2188 DSF
      (MRWx) (the “SEC Action”). On April 1, 2019, the Court in the SEC Action issued a
      Preliminary Injunction Order and Order Appointing Permanent Receiver (“Receiver Order”),
      appointing Bradley D. Sharp as permanent receiver (“Receiver”) for DLI, and for Direct
      Lending Income Fund, L.P., Direct Lending Income Feeder Fund, Ltd., DLI Capital, Inc., DLI
      Lending Agent, LLC, and DLI Assets Bravo, LLC (referred to herein as the “Company”) and
      their successors, subsidiaries and affiliated entities.

               The Company’s assets include, among other assets, (1) a portfolio of loans or other
      extensions of credit originated by Dealstruck Funding 3, LLC (the “Dealstruck Portfolio”); (2) a
      portfolio of loans or other extensions of credit originated by Biz2Credit (the “Biz2Credit
      Portfolio”); and (3) a portfolio of loans or other extensions of credit originated by LoanHero (the
      “LoanHero Portfolio”) (collectively, the “Assets”). The aggregate par amount of the Assets in the
      three Portfolios is ~$29.8 million at June 30th, 2019 inclusive of ~$7.0million of loans in
      collection in one Portfolio. The specific loans and extensions of credit included in each of the
      Dealstruck Portfolio, Biz2Credit Portfolio, and LoanHero Portfolio comprising the Assets being
      offered for sale pursuant to these Bidding Procedures are set forth in the Dealstruck Portfolio
      Schedule, the Biz2Credit Portfolio Schedule and the LoanHero Schedule which will be provided
      to interested prospective bidders who execute the confidentiality agreement as set forth below to
      become a Qualified Bidder and gain access to the Data Room as defined below. All Assets will be
      sold only “as is, where is” without representations or warranties and on a nonrecourse
      basis. Subject to Court approval of these procedures and approval of the sale of the Assets at a
      hearing to be conducted on September 23, 2019, unless adjourned or continued as set forth in these
      Bidding Procedures, the Company, through the Receiver, is soliciting bids for the Assets and will
      seek Court approval and confirmation of the sale of the Assets to the Successful Bidder, or the
      Backup Bidder, as those terms are defined below, in accordance with these Bidding Procedures.
      Any bidding and sale of the Assets pursuant to the Bidding Procedures shall be referred to as a
      “Transaction,” regardless of the form it takes.




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          Pursuant to an Order of the Court in the SEC Action entered July 2, 2019 (Doc. 87), the
 Receiver has been authorized to list and market for sale these loan portfolios by selling the loans
 separately, in combination, or in bulk; to negotiate, document and execute agreements for the
 sale of the loan portfolios, subject to the Receiver seeking and obtaining Court approval for the
 specific agreements for disposition or sale of the assets upon motion and with notice and an
 opportunity for hearing by interested parties. Order (Doc. 87), para. 2.B.

      THE SUBMISSION OF A BID IN CONNECTION WITH THE OFFER FOR
 SALE OF THESE ASSETS IS DEEMED TO CONSTITUTE CONSENT BY THE
 BIDDER TO BE BOUND TO ALL TERMS AND CONDITIONS OF THESE BID
 PROCEDURES.

      ANY PARTY INTERESTED IN BIDDING ON THE ASSETS SHOULD
 CONTACT THE RECEIVER’S INVESTMENT BANK, RAYMOND JAMES &
 ASSOCIATES, INC.:

        1. Adam Kauffman, (416) 777-7145, adam.kauffman@raymondjames.com
        2. Rory Keenan (212) 885-1807, rory.keenan@raymondjames.com

                                   Summary of Important Dates

 Sale Process commencement                           August 1, 2019

 Motion to Approve Bidding/Auction                   To be filed on or about August 12, 2019
 Procedures and Sale of Assets to Successful
 Bidder(s), or Backup Bidder(s)
 Deadline to object to conduct of Auction and        September 9, 2019 (two weeks prior to the date
 designation of Successful Bidders, and              of hearing on the Sale Approval Motion)
 adequate assurance, subject to Court
 approval
 Bid Deadline                                        August 29, 2019 at 5:00 p.m. Los Angeles
                                                     time


 Auction                                             September 5, 2019 at 10 a.m. Los Angeles
                                                     time
 Notice and Statement Regarding Successful           To be filed September 16, 2019
 Bidder(s), or Backup Bidder(s)
 Sale Hearing                                        September 23, 2019 at 1:30 p.m. Los Angeles
                                                     time
 Sale Closing                                        [As soon as practicable after Sale Hearing
                                                     and not later than five business days after
                                                     Court approval of the sale of Assets]




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          1.     Assets to Be Sold

          The Receiver is offering for sale each Portfolio of Assets. Potential Bidders (as defined
 below) may bid on any or all of the Portfolios of Assets, however each bid must be for the
 entirety of each portfolio. Potential Bidders are required to submit a separate bid for each
 portfolio.

          2.     Participation Requirements

          Any person or entity that wishes to participate in the bidding process for the Assets
 (each, a “Potential Bidder”) must first become a “Qualifying Bidder.” To become a Qualifying
 Bidder (and thus be able to conduct due diligence and gain access to the Company’s confidential
 electronic data room concerning the Assets (the “Data Room”)), a Potential Bidder must submit
 to the Receiver and his advisors Raymond James & Associates, Inc. (“Raymond James”):

        (a)     documentation identifying the interested party, its principals, and the
                representatives thereof who are authorized to appear and act on their behalf for all
                purposes regarding the contemplated Transaction;

        (b)     an executed confidentiality agreement in form and substance reasonably
                satisfactory to the Receiver, which by its terms will inure to the benefit of the
                Successful Bidder(s);

        (c)     a statement and other factual support demonstrating to the Receiver’s sole
                satisfaction that the interested party has a bona fide interest in consummating a
                Transaction; and

        (d)     sufficient information, as determined solely by the Receiver, to allow the
                Receiver to determine that the interested party has, or can obtain, the financial
                wherewithal and any required internal corporate, legal or other authorizations to
                close a Transaction.

         Each Potential Bidder shall comply with all reasonable requests for information and due
 diligence by the Receiver, or his advisors regarding the ability of such Potential Bidder, as
 applicable, to consummate its contemplated Transaction.

          3.     Court Jurisdiction

           Any Potential Bidders and Qualifying Bidders shall: (a) be deemed to have waived any
 right to a jury trial in connection with, and consented and submitted to the exclusive jurisdiction
 of the Court over, any actions or proceedings arising from or relating to the Bidding Procedures,
 the respective Transaction proposed by each such party, the Auction (as defined below) and the
 construction and enforcement of the contemplated Transaction documents of such parties; (b)
 bring any such action or proceeding in the Court; and (c) be deemed to have consented to the
 Court entering a final judgment determining any such action or proceeding and that such final
 judgment in any such action or proceeding, including all appeals, shall be conclusive and may be
 enforced in other jurisdictions (including any foreign jurisdictions) by suit on the judgment or in
 any other manner provided by applicable law.



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          4.     Form of Agreement

        Potential Bidders intending to submit bids must include with their bids an asset purchase
 agreement (a “Purchase Agreement”). The Purchase Agreement shall be in the form of the
 Purchase Agreement included in the Data Room and include a redline marked against the form
 Purchase Agreement that shows all changes to the Purchase Agreement.

          5.     Due Diligence

          The Receiver will provide any Qualifying Bidder with reasonable access to the
 Company’s Data Room and any other available additional information that the Receiver believes
 to be reasonable and appropriate under the circumstances. All additional due diligence requests
 shall be directed to Raymond James, the Receiver’s investment bank.

         The due diligence period shall extend through and including the Bid Deadline. The
 Receiver may, but shall not be obligated to, in its reasonable discretion, furnish any due diligence
 information after the Bid Deadline.

          The Receiver reserves the right, in his reasonable discretion, to withhold or limit access
 to any due diligence information that the Receiver determines is business-sensitive or otherwise
 not appropriate for disclosure to a Qualifying Bidder. Notwithstanding any pre-receivership
 limitations, including, without limitation, any non-disclosure, confidentiality or similar
 provisions relating to any due diligence information, the Receiver shall be authorized to provide
 due diligence information to Qualifying Bidders provided that such Qualifying Bidders have
 delivered an executed confidentiality agreement in form and substance acceptable to the
 Receiver. The Receiver, the Company and its receivership estate, and Raymond James, are not
 responsible for, and shall have no liability with respect to, any information obtained by, or
 provided to, any Qualifying Bidders in connection with the Bidding Procedures and a
 contemplated Transaction.

          6.     Bid Requirements

         To be deemed a “Qualifying Bid,” a bid must be received from a Qualifying Bidder on
 or before the Bid Deadline and satisfy each of the following requirements, as determined by the
 Receiver (each, a “Bid Requirement”):

        (a)     be in writing;

        (b)     fully disclose the identity of the Qualifying Bidder (and any other party
                participating in the bid) and provide the contact information of the specific
                person(s) whom the Company or its advisors should contact in the event that the
                Receiver has any questions or wish to discuss the bid submitted by the Qualifying
                Bidder;

        (c)     set forth the purchase price to be paid by such Qualifying Bidder in adequate detail
                solely acceptable to the Receiver;

        (d)     provide for an all cash purchase, paid in full at closing;



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       (e)   specify the Portfolio(s) of Assets that are included in the bid;

       (f)   state that such Qualifying Bidder’s offer is formal, binding and unconditional and
             is irrevocable until fifteen (15) business days after the closing of the sale of the
             Assets;

       (g)   state that the Qualifying Bidder is offering to purchase the assets “as is, where is”
             without representations or warranties and on a nonrecourse basis.

       (h)   state that such Qualifying Bidder is financially capable of consummating the
             Transaction contemplated by the bid, is not subject to any financing
             contingency(ies) and provide written evidence in support thereof;
       (i)   contain such financial and other information to allow the Receiver to make a
             reasonable determination as to the Qualifying Bidder’s financial and other
             capabilities to close the transactions contemplated by the proposal;

       (j)   a commitment to close the Transaction within five (5) business days after entry of
             an order of the Court approving the sale to the Successful Bidder;

       (k)   not request or entitle such Qualifying Bidder to any break-up fee, termination fee,
             expense reimbursement or similar type of fee or payment;

       (l)   not contain any contingencies of any kind, including, without limitation,
             contingencies related to financing, internal approval or due diligence;

       (m)   contain a written acknowledgement and representation that the Qualifying Bidder
             (i) has had an opportunity to conduct any and all due diligence regarding the
             Assets, (ii) has relied solely upon its own independent review, investigation
             and/or inspection of any documents and other information in making its
             Qualifying Bid, and (iii) did not rely upon any written or oral statements,
             representations, promises, warranties or guaranties whatsoever, whether express,
             implied, by operation of law or otherwise, regarding the Assets, or the
             completeness of any documents or other information provided in connection with
             the Bidding Procedures and the proposed Transaction;

       (n)   provides for the Qualifying Bidder to serve as a backup bidder (the “Back-Up
             Bidder”) if the Qualifying Bidder’s bid is the next highest and best bid (the
             “Back-Up Bid”) after the Successful Bid (as defined below), as determined by the
             Receiver;

       (o)   includes written evidence of authorization and approval from the Qualifying
             Bidder’s board of directors (or comparable governing body) with respect to the
             submission, execution, and delivery of the Purchase Agreement;

       (p)   provides a good faith cash deposit (the “Deposit”) in an amount equal to ten
             percent (10%) of the purchase price provided for in the Purchase Agreement (or
             such additional amount as may be determined by the Company in its reasonable
             discretion) to be deposited, prior to the Bid Deadline, with an escrow agent



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                 selected by the Company (the “Escrow Agent”) pursuant to the escrow agreement
                 to be provided by the Company to the Qualifying Bidders (the “Escrow
                 Agreement”); and

         (q)     provides for liquidated damages in the event of the Qualifying Bidder’s breach of,
                 or failure to perform under, the modified Purchase Agreement equal to the
                 amount of the Deposit, which modified Purchase Agreement, redlined to show all
                 changes, shall be submitted with the bid as required by Section 4 of these Bidding
                 Procedures.

         The Receiver reserves the right to negotiate with any Qualifying Bidder in advance of
 the Auction to cure any deficiencies in a bid that is not initially deemed a Qualifying Bid.

         Each Qualifying Bidder submitting a bid shall be deemed to: (a) acknowledge and
 represent that it is bound by all of the terms and conditions of the Bidding Procedures.

           7.     Bid Deadline

          A Qualifying Bidder that desires to make a bid shall deliver a written and electronic
 copy of its bid in both PDF and MS-WORD format to the Notice Parties so as to be received on
 or before August 29, 2019 (the “Bid Deadline”); provided that the Receiver may extend the Bid
 Deadline without further order of the Court. To the extent that the Bid Deadline is extended for
 all parties, the Receiver shall file a notice on the docket of these (cases) indicating the same. Any
 party that does not submit a bid by the Bid Deadline (including as extended in accordance
 with the prior two sentences) will not be allowed to (a) submit any offer after the Bid
 Deadline, or (b) participate in the Auction.

           8.     Evaluation of Qualifying Bids

         The Receiver shall make a determination regarding whether a timely submitted bid from
 a Qualifying Bidder is a Qualifying Bid. In the event that a bid is determined not to be a
 Qualifying Bid, the Qualifying Bidder shall be notified by the Receiver and shall have until the
 commencement of the Auction to modify its bid to increase the purchase price or otherwise
 improve the terms of the Qualifying Bid; provided that any Qualifying Bid may be improved at
 the Auction as set forth herein.
           Prior to commencing the Auction, the Receiver shall determine, in his sole discretion,
  which of the Qualifying Bids, at such time, is the highest or best bid for purposes of constituting
  the opening bid of the Auction (the “Baseline Bid” and the Qualifying Bidder submitting the
  Baseline Bid, the “Baseline Bidder”), and shall notify all Qualifying Bidders with Qualifying
  Bids of the Baseline Bid no later than the opening of the Auction.

           9.     Auction

         If the Receiver timely receives one or more Qualifying Bids for any of the Assets, then
 the Receiver shall conduct an auction (the “Auction”). Following the Auction, the Receiver will
 determine, in its sole discretion, which Qualifying Bid is the highest or best bid for the Assets,
 which will be determined by considering, among other things, the following non-binding factors:



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 (a) the terms of the Purchase Agreement requested by each bidder; (b) the extent to which such
 terms are likely to delay closing of the Sale, the cost to the Company and its receivership estate
 of such modifications or delay, and any incremental financing being offered to accommodate
 any delay; the total consideration to be received by the Company and its receivership estate; (d)
 the Transaction structure and execution risk, including conditions to, timing of and certainty of
 closing, termination provisions, availability of financing and financial wherewithal to meet all
 commitments, and required governmental or other approval; (e) the net benefit to the Company’s
 receivership estate; (f) the impact on employees, creditors, and contract counterparties; and (g)
 any other factors the Receiver may reasonably deem relevant.

         The Auction shall be governed by the following procedures:

         (a)    the Auction shall commence on September 5, 2019 (the “Auction Date”), at the
                Los Angeles offices of Development Specialists, Inc. at 10 a.m. Los Angeles
                time;

         (b)    only Qualifying Bidders with Qualifying Bids (collectively, the “Auction
                Bidders”) shall be entitled to make any subsequent bids at the Auction;

         (c)    the Auction Bidders shall appear in person at the Auction, or through a duly
                authorized representative;

         (d)    only the Company through its Receiver, the Auction Bidders, together with the
                professional advisors to each of the foregoing parties, may attend the Auction;

         (e)    the Receiver and his professional advisors shall direct and preside over the
                Auction, which shall be transcribed;

         (f)    the Auction Bidders shall confirm that they have not engaged in any collusion
                with respect to the Bidding Procedures, the Auction or the Sale;

         (g)    bidding shall commence at the amount of the Baseline Bid, and the Auction
                Bidders may submit successive bids in increments of up to $50,000 and 5% of the
                current highest and best bid (or Baseline Bid for the first round) (the “Bid
                Increment”); provided that: (i) each such successive bid must be a Qualifying
                Bid. The Receiver reserves the right to modify the Bid Increment during the
                course of the Auction shall do so on the record at the Auction;

         (h)    the Auction may include individual negotiations with any of the Auction Bidders,
                but all bids shall be made on the record and in the presence of all of the Auction
                Bidders;

         (i)    all material terms of the bid that is deemed to be the highest and best bid for each
                round of bidding shall be fully disclosed to the Auction Bidders, and the
                Receiver shall use reasonable efforts to clarify any and all questions that the
                Auction Bidders may have regarding the Receiver’s announcement of the then-
                current highest and best bid;

         (j)    the Receiver and his professional advisors may employ and announce at the



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              Auction additional procedural rules that are reasonable under the circumstances
              (e.g., the amount of time allotted to make subsequent bids) for conducting the
              Auction, provided that such rules are (i) not inconsistent with any applicable
              order of the Court entered in connection with these cases, and
              (ii) disclosed to the Auction Bidders;

        (k)   each Auction Bidder shall (i) be deemed to have waived any right to a jury trial
              in connection with, and consented and submitted to the exclusive jurisdiction of
              the Court over, any actions or proceedings arising from or relating the Bidding
              Procedures, the Sale, the Auction and the construction and enforcement of the
              contemplated transaction documents of the Auction Bidders, (ii) bring any such
              action or proceeding in the Court, and (iii) be deemed to have consented to the
              Court entering a final judgment determining any such action or proceeding and
              that such final judgment in any such action or proceeding, including all appeals,
              shall be conclusive and may be enforced in other jurisdictions (including any
              foreign jurisdictions) by suit on the judgment or in any other manner provided by
              applicable law;

        (l)   Auction Bidders shall have the right to make additional modifications to their
              respective Purchase Agreements in conjunction with each Qualifying Bid
              submitted in each round of bidding during the Auction, provided that (i) any such
              modifications on an aggregate basis and viewed in whole, shall not, in the
              Receiver’s sole discretion be less favorable to the Company and its estates than
              the terms of the Auction Bidders’ respective Purchase Agreements and (ii) each
              Qualifying Bid shall constitute an irrevocable offer and shall be binding on the
              Auction Bidder submitting such bid until such party shall have submitted a
              subsequent Qualifying Bid at the Auction or the conclusion of the Sale Hearing,
              whichever occurs sooner, unless such bid is selected as the Successful Bid or the
              Back-Up Bid, which shall remain binding as provided for herein;

        (m)   the Receiver shall have the right to request any additional financial information
              that will allow the Receiver to make a reasonable determination as to an Auction
              Bidder’s financial and other capabilities to consummate the transactions
              contemplated by their proposal, as may be amended during the Auction, and any
              further information that the Receiver may believe is reasonably necessary to
              clarify and evaluate any bid made by an Auction Bidder during the Auction;

        (n)   upon the conclusion of the Auction, the Receiver shall determine, subject to
              Court approval, the offer or offers for the Assets that is or are the highest or best
              from among the Qualifying Bids submitted at the Auction (the “Successful
              Bid”). In making this decision, the Receiver shall consider among other things,
              the amount of the purchase price, the likelihood of the bidder’s ability to close a
              transaction and the timing thereof, the nature and impact of any variances from
              the form Purchase Agreement requested by each bidder, and the net benefit to the
              Company’s receivership estate. The bidder submitting such Successful Bid shall
              become the “Successful Bidder,” and shall have such rights and responsibilities
              of the purchaser as set forth in the subject Purchase Agreement, as applicable.
              The Receiver may, in its reasonable discretion, designate Back-Up Bids (and the



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                 corresponding Back-Up Bidders) to purchase the Assets in the event that the
                 Successful Bidder does not close the Sale; and
         (o)     prior to the Sale Hearing, the Successful Bidder shall complete and execute all
                 agreements, contracts, instruments and other documents evidencing and
                 containing the terms and conditions upon which the Successful Bid was made.

      THE SUBMISSION OF A BID IN CONNECTION WITH THE OFFER FOR
 SALE OF THESE ASSETS IS DEEMED TO CONSTITUTE CONSENT BY THE
 BIDDER TO BE BOUND TO ALL TERMS AND CONDITIONS OF THESE BID
 PROCEDURES.

       THE SUCCESSFUL BID AND ANY BACK-UP BIDS SHALL CONSTITUTE AN
 IRREVOCABLE OFFER AND BE BINDING ON THE SUCCESSFUL BIDDER AND
 THE BACK-UP BIDDER, RESPECTIVELY, FROM THE TIME THE BID IS
 SUBMITTED UNTIL TWO (2) BUSINESS DAYS AFTER THE SALE HAS CLOSED.
 EACH QUALIFYING BID THAT IS NOT THE SUCCESSFUL BID OR BACK-UP BID
 SHALL BE DEEMED WITHDRAWN AND TERMINATED AT THE CONCLUSION OF
 THE SALE HEARING.

          10.    Sale Hearing

          The Successful Bid and any Back-Up Bid will be subject to approval by the Court. The
 hearing to approve such Successful Bid and any Back-Up Bid (the “Sale Hearing”) shall take
 place, subject to the Court’s availability, on September 23, 2019. The Sale Hearing may be
 adjourned by the Receiver or the Court from time to time without further notice to creditors or
 other parties in interest other than by announcement of the adjournment in open court on the date
 scheduled for the Sale Hearing, by filing a notice of the continuance with the Court, or by
 posting a notice on the receivership website for the Company’s receivership case at
 https://cases.stretto.com/dli. For the avoidance of doubt, by no later than the time of
 announcement of the Baseline Bid for the Auction, the Receiver may determine to
 withdraw the Assets or any subset thereof, from the Auction and sale process, and adjourn
 the Sale Hearing with respect to these Assets on the terms set forth herein.

           At the Sale Hearing, the Receiver on behalf of the Company will seek entry of an order
 that, among other things: (i) authorizes and approves the Sale to the Successful Bidder (and, if
 applicable the Back-Up Bidder), pursuant to the terms and conditions set forth in the applicable
 Purchase Agreement executed by the Successful Bidder (and, if applicable the Back-Up Bidder),
 and that the Assets being transferred in such transaction shall be transferred; (ii) unless otherwise
 ordered by the Court, directing that all Encumbrances on the Assets that are sold shall attach to the
 cash proceeds generated from the sale of such Assets in the same order of priority as they existed
 prior to the consummation of such sale; and (iii) finding that the Successful Bidder, as applicable,
 is a good faith purchaser..

          11.    Back-Up Bidder

         Notwithstanding any of the foregoing, in the event that the Successful Bidder fails to
 close the Sale no later than five (5) business days following the approval of the sale by the Court
 (or such date as may be extended by the Receiver and with the agreement of the Back-Up


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 Bidder), the Back-Up Bid will be deemed to be the Successful Bid, the Back-Up Bidder will be
 deemed to be the Successful Bidder, and the Receiver on behalf of the Company will be
 authorized, but not directed, to close the Sale to the Back-Up Bidder subject to the terms of the
 Back-Up Bid without the need for further order of the Court and without the need for further
 notice to any interested parties, as soon as practicable, but not later than ten (10) business days
 following the approval of the sale by the Court .

          12.    Return of Deposits

         All Deposits shall be returned to each bidder not selected by the Receiver as the
 Successful Bidder or the Back-Up Bidder no later than three (3) business days following the
 conclusion of the Sale Hearing. The deposit of the Successful Bidder or, if the Sale is closed
 with the Back-Up Bidder, the deposit of the Back-Up Bidder, shall be applied to the purchase
 price for the Sale. If the Successful Bidder (or, if the Sale is to be closed with the Back-Up
 Bidder, then the Back-Up Bidder) fails to consummate the Sale because of a breach or failure to
 perform on the part of such bidder, then, subject to the terms of the Purchase Agreement the
 Company and its receivership estate shall be entitled to retain the Deposit of the Successful
 Bidder (or, if the Sale is to be closed with the Back-Up Bidder, then the Back-Up Bidder) as part
 of the damages resulting to the Company and its receivership estate for such breach or failure to
 perform.

          13.    Notice Parties

           The term “Notice Parties” as used in these Bidding Procedures shall mean: (i) the
  Company through its permanent receiver Bradley D. Sharp (“Receiver”),
  bsharp@dsiconsulting.com; (ii) counsel to the Receiver for the Company, Christopher D.
  Sullivan of Diamond McCarthy LLP, csullivan@diamondmccarthy.com, (415) 692-5200, (iii)
  investment banking advisor to the Company, Raymond James & Associates, Inc. (Attn: Adam
  Kauffman, adam.kauffman@raymondjames.com, (416) 777-7145 and Rory Keenan
  rory.keenan@raymondjames.com, (212) 885-1807)

          14.    Reservation of Rights

          Notwithstanding any of the foregoing, the Receiver reserves Company the right to
 modify these Bidding Procedures at or prior to the Auction, including, without limitation, to
 extend the deadlines set forth herein, modify bidding increments, waive terms and conditions set
 forth herein with respect to any or all potential bidders (including, without limitation, the Bid
 Requirements), impose additional terms and conditions with respect to any or all Potential
 Bidders, adjourn or cancel the Auction at or prior to the Auction, and adjourn the Sale Hearing.




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